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            IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

LINDSEY BULLARD,
     Plaintiff,
-vs-                                         CIVIL ACTION #
                                             1:04-CV-2407 (JEC)
MEDIA PLAY, INC.,
MRA HOLDING, LLC,
and MANTRA FILMS, INC.,
        Defendants.

   PLAINTIFF’S RESPONSE TO MRA HOLDING, LLC’S AND
 MANTRA FILMS, INC.’S MOTION FOR SUMMARY JUDGMENT

      COMES NOW Lindsey Bullard, and responds to the Defendant’s

Motion for Summary Judgment, as follows:

                           I. Statement of Facts

       LINDSEY BULLARD, was fourteen years old in the Spring of

2001. Exhibit -2 Bullard Deposition Excerpts, P.5 L. 10.        She went to

Panama City, Florida with several of her friends and was chaperoned by her

friends’ parents, the Osmonds. Bullard Depo. P16 L. 16-19 . While walking

in front of her hotel, the Plaintiff and her friends encountered two men, Ex-2

Bullard DepoP.16 L. 12-17, one with a video camera, who asked her to step

into the parking lot and then asked her if he could see her “boobs”. Ex-2

Bullard Depo P. 18 L.5-11. She showed them her breasts and one man

recorded the act with his video camera. Ex-2 Bullard Depo P. 18 L.5-11.



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BULLARD thought that the men were just one of the many hundreds of

people walking around with cameras.

      In late fall 2001, LINDSEY BULLARD’S photograph appeared

prominently on the cover of a videotape produced and sold by the

Defendants entitled Girls Gone Wild, College Girls Exposed, Volumes 1 and

2. Exhibit 1. Her image also appeared in television commercials and on an

internet advertisement for the video. Ex-2 Bullard Deposition P.63,64 L. 15-

19. Her image appeared on Girls Gone Wild television commercials during

the Howard Stern [television] Show.

      The Defendants MANTRA FILMS, INC. and MRA HOLDINGS

LLC, have gained notoriety for their series of tapes marketed under the name

“Girls Gone Wild”. They make and sell sexually explicit videotapes. They

purchased the Plaintiff’s recorded indiscretion from a source that they

frequently used and incorporated it into the subject videotape Girls Gone

Wild, College Girls Exposed, Volumes 1 and 2, which the Defendants have

sold in at least forty-eight of the fifty states and possibly in Alaska and

Hawaii. Ex- 4 Gutman Depositions p. 82, lines 9-12. The Defendants used

LINDSEY BULLARD’S photograph with her breasts exposed but blocked

out on the videotape package, (Exhibit 1), and widely disseminated

advertisements on television and on the Defendant’s website, all without



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LINDSEY BULLARD’S consent. Exhibit-2 Bullard P. L. Depo Exhibit -

3 Francis Deposition Excerpts P.15 L. 10 , P. 16, L. 9.

        The Defendants, MANTRA FILMS, INC. and MRA HOLDINGS,

LLC are solely owned by JOSEPH R. FRANCIS, the creator and founder of

the Girls Gone Wild videotape series. Ex- 3 Francis depositions p. 5, lines 9-

11.

        Cowser, the media buyer for MANTRA FILMS deposed that the

product that the defendant is selling [in part] is [pictures of] naked breasts

and that the reason Bullard’s breasts are blocked out is that to do otherwise

would give the customer the product for free. Cowser Depo. P. 27 L10-18

The purchase of one      of the defendant’s products directly leads to the

purchase of others. When a customer purchases a video, they will receive

additional Girls Gone Wild videotapes once a month until the customer

tells them to stop sending them. Cowser Depo P. 21 L. 12-23          excerpts

Exhibit 4.




                         II. STANDARD OF REVIEW

        Summary judgment is appropriate “if the pleadings, depositions,

      Answers to Interrogatories and admissions on file, together with the



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   affidavits, if any, show that there is no genuine issue as to any material

   fact and that the moving party is entitled to judgment as a matter of law.”

   In Fed. R. Civ. P. 56(c). The moving party bears the initial burden of

   showing the Court by reference to the materials on file, that there are no

   genuine issues of material fact to be decided at trial. Celotex Corp. v.

   Catrett, 477 U.S. 317, 91 L. Ed. 2d 265, 106 S.Ct. 2548 (1986)

                    III. Argument and Citation of Authority

                              A. Choice of Law

       A federal court sitting in diversity applies the choice of law rules of

the forum state. As the Defendants acknowledge, in Georgia, the conflict of

law rule is lex loci delectus, that is “the place of the wrong.” Claxton Co. v.

Stentor Elec. Mfg. Co., 313 U.S. 487, 496, 61 S. Ct. 1020, 85 L. Ed. 1477

(1941).

       The publication and marketing had the greatest detrimental

effect and impact on LINDSEY BULLARD in Georgia where she was

ridiculed and harassed by fellow students and teachers at her school.

She was forced to change schools in an attempt to extricate herself from

the notoriety and harassment. Bullard Affidavit, Exhibit 9, Paragraph 6.

       The publication, distribution and advertising of the video occurred in

all fifty states.     The case at bar involves a multi-state publication that



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invaded the plaintiff’s privacy and had the most significant effect and

damage to the Plaintiff in the State of Georgia.

      Georgia recognizes the four branches of the tort invasion of privacy.

Two of the four branches are: misappropriation of the plaintiff’s likeness

(by commercial exploitation of a photograph without a consent) and

portraying the plaintiff in a false light by using her likeness for advertising

which tend to falsely portray her as endorsing the product .

      Here, by using Plaintiff’s image for advertising and falsely suggesting

Plaintiff Lindsey Bullard willingly participated and endorsed the

Defendant’s videotape, defendants have portrayed Plaintiff in a false light

and have used her likeness for their own commercial gain.           These are

recognized causes of actions in Georgia as well as in Florida. M. L. King, Jr.

Center v. Am. Heritage Prod., 250 Ga. 135 (1982). Cason v. Baskin, 20 So.

2d. 243, Fl. (1944); Forsberg v. Housing Authority of Miami Beach, 455 So.

2d. 373, 386 Fl. (1984);

      Accordingly, this Court should choose Georgia law, where the

greatest injury to Plaintiff occurred.

          B. Misappropriation of Likeness For Commercial Use




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      It is undisputed that the Defendants did not obtain express written or

oral consent to use the Plaintiff’s image for advertising for any commercial

purpose. Gutman Dep P. 84 L.21, Depo Francis P. 54 L18-P.55 L20

      “The publication of a picture of a person without his [her] consent, as

part of an advertisement, for the purpose of exploiting the publisher’s

business, is a violation of the right of privacy of the person whose picture is

reproduced and entitles him [her] to recover without proof of special

damage.” M. L. King, Jr. Center v. Am. Heritage Prod., 250 Ga. 135 (1982)

citing Pavesich v. New England Life Insurance Company, 122 Ga. 190, 191,

50 S.E. 68 (1905).

      Regarding the possible conflicts between the right of privacy and the

First Amendment, the Georgia Supreme Court has held: “there is in the

publication of one’s picture for advertising purposes, not the slightest

semblance of an expression of an idea, thought, or an opinion, within the

meaning of the Constitutional provision which guarantees to a person the

right to publish his sentiment on any subject.” M. L. K. Jr. Center, Supra,

citing Pavesitch, Supra at 219. M. L. King summarized that “…[T]he

courts in Georgia have recognized the rights of private citizens, Pavesitch,

supra…not to have their names and photographs used for the financial gain

of the user without their consent where such use is not authorized as an



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exercise of freedom of the press…We hold that the appropriation of

another’s name and likeness, whether such likeness be a photograph or

sculpture, without the consent and for the financial gain of the appropriator

is a tort in Georgia if the person whose name and likeness is used is a private

citizen…M. L. K. Jr. Center, supra at 143.”

      Here, it is uncontroverted that the defendants used the 14 year old

girl’s photograph to promote, advertise, sell and entice customers to

purchase the video which leads to the customers purchasing additional

videos. The title is “College Girls Exposed” yet they put a picture of a 14

year old child on the cover with her bare breast covered by the words “Get

Educated!”

      MANTRA FILMS Media buyer (advertising), Don Cowser, testified

that the customer is [in part] purchasing the view of the breasts. And that the

commercials block out the breasts because the customer would otherwise be

getting the product for free. Exhibit -5 Cowser Depo exerpts P.27 L.10-18

      In one of his many self serving responses to deposition questions,

JOSEPH FRANCIS contends that his videos are not sexually graphic. Ex-3

FRANCIS Depo. P. 51 L. 10-18 Yet, he reluctantly admits that they contain

flashing, vaginal areas, simulated masturbation and oral sex, See Exhibit 3,

Deposition of Joseph Francis. Likewise, Executive Vice President Ron



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Gutman also contends that their products are “not of a sexual nature”

Gutman depo P/104. L.12. The box has a warning: “WARNING! Contains

nudity and sexual situations,” See Exhibit-1 Box Cover.

      In Gritzke v. MRA Holding, LLC, 4:01-CV-495-RH (N. D. Fla.,

March 15, 2002, Judge Hinkle denied these Defendants’, MANTRA FILMS

INC. and MRA’s, Motion to Dismiss and Motion for Summary Judgment.

Exhibit 6 Order of Motion To Dismiss in Gritzke. The facts of the Gritzke

case were identical to this case. Ms. Gritzke was an underage girl whose

photograph and video were used not only as part of the Girls Gone Wild

video, but it appeared on the cover of the video/ DVD. There was neither

written nor oral consent. Her photograph was additionally used in internet

and television advertising, just as in the case at bar.

      Both parties filed Motions for Summary Judgment, and both were

denied.

     In Lane v. MRA Holdings, LLC d/b/a/ MRA Video, Mantra

Films, Inc, et al., Judge Conway granted the Defendant’s Motion for

Summary Judgment, distinguishing it from the Gritzke case:

     In Gritske v. MRA Holdings, LLC…Judge Hinkle of the Northern
     District of Florida determined that the Plaintiffs stated a valid claim
     under § 540.08 by alleging that her half-naked picture was plastered
     on the front cover of the videotape Girls Gone Wild without her
     authorization…The Plaintiff Gritzke was complaining about the use of
     her image on the outside cover of the videotape package…In this case,

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    Lane has not alleged that her image was plastered on a billboard or
    box cover advertising Girls Gone Wild.” Exhibit-6 Lane Order
    Granting Summary Judgment.

      The Lane Court also found that Lane knew that the video would be

published, thereby giving her consent. Lane v. MRA Holdings, LLC d/b/a/

MRA Video, Mantra Films, Inc, et al., CASE NO (2004 M.D. Fla.).

      Another case with similar facts to this case and Gritzke is Bosley vs.

Wildwet.com Case No. 4:04-CV-393 in the United States District Court,

Northern District of Ohio (March 31, 2004). Exhibit-8 Order Granting

Injunction. Bosley was a news anchorwoman in Ohio for over ten years.

On a trip to Florida, she was in a night club where there was a wet t-shirt

contest underway.     While participating in the wet t-shirt contest, she

removed her clothing.     The Defendant videotaped the performance for

publication and reproduction in the form of videos and DVDs.            The

president of Dreamgirls described his company as being similar to Girls

Gone Wild. Bosley at 2. The court found that there was no consent even

though the purpose of the videotaping was announced and there was a sign

at the entrance which stated the same.

      The video itself showed the woman in various stages of undress and

other women masturbating and engaging in other sexual acts. The Court




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noted “the tapes have no plot or commentary apart from the pictures of

naked women engaged in sexual acts and displays.” Bosley at 2.

      The Court held that use of Bosley’s image on the cover of the video

was not protected under the first amendment, but her image on the video

itself was protected. One of the primary limitations upon the right of privacy

is that this right does not prohibit the publication of matters of general public

interest for the use of the name or picture of a person in connection with a

publication of legitimate news.      However, the phrase public or general

interest in this connection does not mean mere curiosity. Bosley citing:

Cason v. Baskin, 155 Fl 198, 216 (Florida 1944).

      Just as in the case at bar, the Defendants alleged they did not use the

images of Katherine Bosley for a commercial purpose. The Court disagreed,

citing Florida law that defines commercial purpose as trade, commercial or

advertising purpose or using a likeness to directly promote a product or

service. Bosley at 3.

      Bosley’s image was being used on the Defendant’s website to sell the

tape. Just as in the present case, the Court found that Bosley gave no written

or oral express consent to use her image to promote the sale of sexually

related goods even though in Bosley, there was a sign as patrons walked

through the club entrance and various other places stating that there would



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be videotaping and an announcer specifically announced that the event was

being videotaped for a Dreamgirls production.          In the case at bar,

BULLARD had no notice whatsoever that her photograph would be used for

a commercial purpose.

      Most notably, the Court held, “ the prominent display of Bosley’s

name, image and likeness on the cover of the Wildwet Video as well as

promotional images of Bosley posted on Wildwett.com clearly constituted

advertisement for the video. Just as in this case, the Defendants argued that

the Plaintiff’s image should fall under the news, entertainment and creative

works exception. It cited Tyne v. Time Warner Entertainment Co., LLP,

204 Fed. Supp. 2d (Middle District of Florida, 2002) and Lane v. MRA

Holdings, LLC., Exhibit-7 (the same defendant as in this case). The Court

held that while the Defendants “would like to draw corollaries between their

video and the book/movie The Perfect Storm, at issue in Tyne, no such

similarity exists; the present matter primarily involves the sale of goods,

merchandise and services, not expressive material. Attempts to defend the

sale of such merchandise on First Amendment grounds through analogies to

the marketing of books, magazines and other traditional materials of

communication have been typically rejected.” Bosley at 3 Quoting: The

Restatement Third of Unfair Competition, Section 47. The Bosley Court



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further noted, “[m]oreover, that Lane is an anomalous case emphasis

added) which holds that ‘it is irrefutable that the Girls Gone Wild video is an

expressive work created solely for entertainment purposes’”. Quoting: Lane

at 12-13. “This Court cannot similarly hold that the images in question are

expressive works as they do not contain any creative components or

transformative elements.” Bosley at 10.        “The lack of artistic expression

and significant editorial comments clearly distinguishes this case from other

cases where First Amendment protections have been applied. Bosley at 19.

citing Cardtoons, LC vs. Major League Baseball Players Assoc. 95 F. 3d

959, 976 (10th Circuit 1996).

                        C. First Amendment Defense

      The Defendants are asserting a First Amendment defense to Plaintiff’s

claim of misappropriation of likeness for commercial use. The Defendants

contend they have a First Amendment right to record and disseminate

footage of a news-worthy public event. Even if the Defendants did have

such a right, it is irrelevant in this case because the Plaintiff alleges that her

photograph was the focus of a videotape package for advertisement,

promotion, TV commercials and internet advertising. The photograph and

advertisement suggest the Plaintiff’s willingness and participation in the

endorsement of the product. “The First Amendment provides no right to



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make an un-consenting individual the poster-person for a commercial

product…” Gritzke v. MRA Holding, LLC, case number 4:01-CV-495-RH

in its Order Denying the Motion to Dismiss in a case with similar facts and

the same defendants MRA and MANTRA FILMS. Exhibit- 6, Gritzke,

Order denying motion to dismiss.

      It is undisputed that Ms. BULLARD’S photograph appears in

television advertisements and internet advertisements of the subject matter

video Girls Gone Wild College Girls Exposed. Ms. BULLARD also appears

prominently on the cover of the video/DVD. Bullard depositions p. 63-64,

lines 15-19. Exhibit 1 - Copy of Video Cover. Nevertheless, defendants

deny that the use amounts to advertising, commercial or trade purpose.

Defendants’ attempts to classify these uses as anything but advertising flies

in the face of reality. The use of a person’s likeness to advertise products or

merchandise marketed by the user amounts to a use for purpose of trade.

Restatement (Third) of Unfair Competition § 47. In the Gritzke case, which

has identical facts and defendants as the present case (with the exception of

Media Play) the Court held in its Order Denying the Motion to Dismiss:

            Defendant also asserts that allowing plaintiff to recover on
         her various theories would contravene the First Amendment,
         because defendant says, they had a First Amendment right to
         record and disseminate footage of a newsworthy public event.
         Accepting for purposes of argument that the defendants did
         indeed have such a right, this does not help the defendant on

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         the instant Motion to Dismiss, because the complaint alleges
         that the defendant made plaintiff’s photograph a focus of the
         videotape package and advertisements, suggesting plaintiff’s
         willing participation and endorsement of the product. The
         First Amendment provides no right to make an un-consenting
         individual the poster person for a commercial product, as the
         plaintiff alleges defendant has done.      Exhibit-6 Gritzke,
         supra, Order Denying Motion to Dismiss

      Here, Ms. BULLARD’S picture appears prominently on the center

cover of the video cover of the Girls Gone Wild College Girls Get Educated

video. The video cover of Ms. BULLARD’S image also appeared on a

number of the defendants’ television advertisements and on websites. These

uses establish that Ms. BULLARD was the focus of the defendants’

advertising.

       Blacks Dictionary, Seventh Edition defines advertising: “The action

of drawing the public’s attention to something to promote its sale”.

Executive Vice President, Mr. Guttman inadvertently admits that her

likeness was used to promote its sale:

       Q: Well, you’re claiming that’s not advertising. Is there any reason
you would not just write on the front of the video—have print saying—this
is a video of a bunch of naked women? Why would you-- pick out a fourteen
-- [year old child]
       A: Counselor, there is a whole bunch of things that we could have
done. We decided to do it this way, all right. You ask me why we didn’t
put a dog on the front cover? ‘Cause it might attract people that are dog
lovers. (Emphasis added.) Exhibit- 4 Guttman Depo P.94 L.6-14.




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       Obviously, the defendants wanted to attract the type of person that

wants to see child nudity to purchase their product, thereby specifically

choosing BULLARD’S image to plaster on the center cover of the video

box.

       Therefore, Ms. BULLARD was not incidentally included in the

defendant’s advertising. Instead the defendants exploited her image over

and over to sell their product.            See Kyser-Smith v. Upscale

Communications, 873 F. Supp. 1519, 1526 (M.D. Ala. 1995). Kyser-Smith

held that the plaintiff’s image was used for the commercial benefit of the

defendant where the defendant selected the plaintiff’s photograph from

many to sell the defendant’s products. Defendant’s self-serving assertions

that the likeness of the plaintiff was not used for advertising does not

preclude summary judgment in the plaintiff’s favor.

 D. The Defendants Attempt to Rely on the Newsworthy Exception to
  Avoid the Classification of the Advertisements as Advertisements

       Just as the defendants make self-serving statements that the

advertising is not advertising, they also make assertions that the Girls Gone

Wild video is bona fide news reporting having current legitimate public

interest. First, the exception does not apply when the person’s likeness is

used for advertising purposes. M. L. King, Jr. Center supra Regardless, the

record establishes that the video is clearly not a news report or documentary

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on a newsworthy event as the defendants contend. The videotape which is

the subject matter of this action does not even come close to arguably being

news. As noted above, production manager Cowser stated the obvious:

unequivocally that the customer purchasing the video is buying a view of the

breasts of the girls in the videos: Cowser depositions p. 27, lines 9-18.

      Robert Ruggles, retired professor and Dean of The School of

Journalism and Graphic Communications at Florida A&M University, and is

an experienced journalist, submitted his affidavit to rebut the his opinion of

Francis. Affidavit of Ruggles Exhibit 10. Ruggles opines that the subject

matter tape lacks all of the elements of newsworthiness. He further opines

that repeated exposing or flashing events in a single product is not

newsworthy content under the standards of the journalism profession. He

further opines that the tape is not a documentary either.           “The term

documentary is a form of news, including a retelling of a major news story in

a cohesive way after it has been reported in bits and pieces over hours, days,

weeks or perhaps even years subject to the omissions and inaccuracies of

deadline pressure.”    Affidavit Ruggles Exhibit 10. The defendants selected

Ms. BULLARD’S videotaped image from many others that were in the video

and included it in their advertisements for the very purpose of selling their

videos. The process of selection establishes that Ms. BULLARD’S image



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was used for commercial purposes. See Kyser-Smith, 873 F. Supp. at 1526

supra (finding the defendant that selected plaintiff’s photograph for use in

advertisements of its products did so for its own commercial advantage). See

also Restatement (Second) of Torts § 625c (it is only when publicity is given

for the purpose of appropriating to the defendant’s benefit the commercial or

other values associated with a name or likeness that the right to privacy is

invaded). If Ms. BULLARD’S image would not have promoted the sales of

the defendants’ videos, the defendants would not have selected her to appear

on the cover or in other advertisements. Accordingly defendants included

Ms. BULLARD’S likeness in their advertisements to obtain a commercial

benefit, specifically more sales, and this is exactly the type of commercial

exploitation that runs afoul of the plaintiff’s right to privacy.

      There is no generally recognized right for persons who obtains a

picture, even under lawful circumstances to use it in advertising a product,

especially when the product is offensive.          In this case, the use of the

14-year-old child’s image in association with the defendants’ sexually

explicit products renders the advertisements even more exploitative. The

defendants knew or should have known from the photographs that

Ms. BULLARD was a young teenager. Likewise, the defendant should have

reasonably known that using Ms. BULLARD would offend the sensibilities



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of a normal person. Douglas v. Hustler Magazine, 769 F.2d 1128 (7th Cir.

1985) cert. denied, 475 U.S. 1094 (1986). This case recognized a plaintiff’s

common law right of privacy where Hustler ran nude photographs of a

celebrity without consent even though she had agreed to appear in Playboy

Magazine.

      Professional video producers like the defendants are on notice that

consent is required for advertising and they are not seriously inconvenienced

by having to obtain a fully informed consent for such use or for paying for

the privilege if they do not. See Zacchini v. Scripps-Howard Broadcasting

Company, 433 U.S. 562 (1997).

      The video cover and advertisements alone demonstrate that

Ms. BULLARD is the prominent focus of defendants’ advertisements.

      The incidental advertising exceptions in newsworthy events has been

expressly rejected in situations where newsworthy events covered by the

media was later used for the purpose of soliciting buyers for the defendants’

products. For example in Flores v. Mosler Safe Company, 164 N.E.2d 863

(N.Y. App. 1959) the defendants included in their advertisements the reprint

of a news photo and accompanying captions and news account as they

originally appeared in the New York Times. The Court found a violation of

the New York Statutory Rights Privacy and rejected the defendants’



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contention that the use of the plaintiff’s name was merely incidental

mentioning his name in a news report unrelated to the advertiser’s product.

The Court held that the advertisement was directly related to the defendants’

product and the relationship was undoubtedly the reason for selecting the

particular picture to illustrate the defendants’ circular. Thus, the incidental

advertising exception is not applicable where the defendant selects the

plaintiff even when the selection is from a newsworthy or entertainment

work and places the plaintiff in an advertisement in order to obtain

commercial benefit. See also Continental Company v. Reed, 119 Ind. App.

643, 86 N.E.2d. 306 (1949); and Reilly v. Rapperswill Corp., 50 A.D. 2d.

342, 377 N.Y.S. 2d 488 (1975). Defendants, as the parties invoking the

newsworthy exception have the burden to prove its application. Armstrong.

v. Ormond in the Pines, 734 So. 2d 596 (Fla. 1st DCA 1999). They must

show a bona fide news report or presentation in a news medium or

publication, current and legitimate public interest and no advertising

purpose. The content of the subject matter video establishes that there is no

bona fide purpose such as a news report and no legitimate public interest.

The advertising using Ms. BULLARD’S picture was purely advertising and

does not purport to have any bona fide news content or purpose. Indeed,

nothing on the video establishes where or when it takes place. In fact, the



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photograph of Ms. BULLARD has the background removed and a blue

backdrop in its place, therefore obliterating any possibility of informing the

potential purchaser of the tape to know where the photograph was taken or

its context. Exhibit -1 Cover of Box, Exhibit-3 Francis Deposition p. 47,

line 21 and p. 49, line 4.

      Unlike a bona fide news publication the video lacks any social useful

content. For example, the videotape omits any footage of discussion of any

event. It contains no public figures, just anonymous persons. It lacks any

narration or substantive dialogue; it omits any information about the

participant’s motivation or any reactions or consequences of their actions; it

was released eight or nine months after it was photographed and it continues

to be sold today, four years after the videotape was recorded.

      Thus the overall content is uninteresting or offensive to most viewers

and devoid of any bona fide news or any legitimate public interest. Indeed

the videotape is merely one like many dozens produced and marketed by the

defendants having the exact same content which is only to attract viewers

who are addicted to this type of content.

      It is the newsworthiness exception that stems from matters of public

interest or general concern that are constitutionally protected speech in which

the Supreme Court has held that:



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        Now it is implicit in these decisions… that not all items or
        feature     articles   are    constitutionally    protected…
        [n]ewsworthiness is that which is well calculated to generate
        wide reader interest and thus may be a legitimate area of
        exploitation by the communications media. While we
        perceive a clear distinction between mere curiosity or the
        undeniable prevalent morbid or prurient intrigue with scandal
        or with a potentially humorous misfortune of others on the
        one hand and real public or general concern on the other. If
        all news were protected they would of course be no need for a
        public concern category. Rosenbloom v. Metromedia Inc.,
        403 U.S. 29 (1971).

             The Court went on to hold that matters of real public or general

interest include matters involving governmental affairs; and matters which

invoke common and predominant public activity, participation or indulgence

in cogitation, study and debate, [such as] sporting events, performing fine

arts, morality and religion, the sciences and matters relating to the general

health, well being and general comfort of the public as a whole. Id. at 49.

However the Court drew the line by holding that allegations of marital

infidelity in the Firestone divorce case were not matters of real public

concern but were matters of prurient curiosity. Id. at 752. The Court also

noted that a publisher cannot create his own “matter of concern” and thereby

engage in “bootstrapping” or creating a springboard from which to defame

or sensationalize. Id. at 752.

      Again, even if the video itself could be deemed newsworthy, the

defendant’s prominent and repeated use of the picture of Ms. BULLARD’S

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face and upper body showing her lifting her blouse on the video cover are

purely advertising issues and have no newsworthy aspect but merely used to

attract those with a prurient interest in partially disrobed young girls, here a

child. Thus, there is no protection for such advertising and the commercial

use of Ms. BULLARD’S image without her consent is not protected.

    E. The Defendants Mischaracterize and Misstate The Lane And
                           Gritzke Cases

      The Defendants characterize the Lane case as “a case virtually

identical to the instant matter,” Defendants’ Motion for Summary Judgment

Page 12. Both the Lane case and the Gritzke case had the same defendants,

yet the Court in Lane specifically distinguishes itself from the Gritzke case,

stating that the Gritzke case is different because, in Gritzke, the plaintiff is

displayed on the cover of the video.

      In both cases, MRA and Mantra filed for summary judgment. The

defendants prevailed in Lane, which is not identical to the instant matter.

The plaintiff prevailed in the Gritzke case. In Lane, the underage girl is in

the video and not on the cover or in any of the advertisements.

      The Defendants are being somewhat stealthy by burying Gritzke in

footnote 9 on page 15. Even then, the footnote incorrectly cites it.




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      First, the Defendants never disclose to the Court that Gritzke is

identical to this case. In Gritzke, the plaintiff was on the cover of the video

and her likeness was similarly used in advertising, as is in the instant case.

      Second, the Defendant says that the District Court, “without citing

any authority”, held that the plaintiff had sufficiently stated a claim where

the plaintiff had pled that the defendant had published her photograph for a

commercial and advertising purpose, specifically on the packaging of

defendant’s videotapes and in advertisements therefore, and did so without

her permission. Exhibit 6 – Gritzke Order.

      This is apparently misrepresented “because the Gritzki Court was

working under the more liberal standard governing a motion to dismiss”,

Defendants’ Brief, Footnote 9. In the order denying the motion to dismiss,

in fact, the Court cited at least seven cases, the statute and the Restatement,

Second, of Conflict of Laws, See Exhibit 2. The Defendant is apparently

confusing the motion to dismiss with MRA and Mantra Films’ motion for

summary judgment which is not under “ a more liberal standard”. Contrary

to Defendant’s citations MRA LLC and Mantra Films Inc.’s motion for

summary judgment and the plaintiff’s motion for summary judgment were

both denied without citing authority, the motion to dismiss was denied,

citing plenty of authority.



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  F. Bullard’s Alleged Consent-The Defendants Completely Misstate
                               The Evidence
     Defendants think that it is “evident from her [Bullard’s] testimony and

the videotape itself that Bullard was aware that the videotape could be

widely distributed.” Defendant cites Bullard Deposition, Page 16 through

21. There is nothing in pages 16 through 21 that would indicate that Bullard

ever considered that the tape could be “widely distributed,” or distributed at

all, for that matter.

       “Two men just asked us to show our boobs, or whatever”. Bullard

Deposition, Page 18, Lines 10 and 11. “It was very quick. It was just really

very quick.” Bullard Deposition, Page 18, Lines 18 and 19.

        After the men asked her to expose her breasts and she did, and after

they were photographed, the men offered her beads. There is no evidence it

was an exchange for anything and the Defendants’ citations do not support

that the beads were in exchange for anything let alone consideration.

       Bullard testified that all of the beads she was wearing were either

found or that other people had given her and that she had never exposed her

breasts before or after the incident which is the subject matter of this action.

Bullard Deposition, Page 71, Lines 15 through 22.

       Defendants conclude, without any accurate citations to the record or

authority that the beads given after Bullard was photographed was somehow



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consideration in exchange for the taping of her image. There is no evidence

in the record that this is the case.

       Defendants again cite the Lane case and contend that the Lane case

holds that the Plaintiff consented to the Defendants’ use of her image

because she exposed her breasts before a video camera on a public street to

a cameraman she did not know.

       “The Middle District of Florida found that ‘no reasonable jury could

conclude that Lane’s consent limited the viewing …”.                 The Court

emphasized the fact that Lane’s companion put her on notice that the

cameraman might use the images for commercial purposes [the companion’s

photograph ended up in Maxim magazine]. Thus, the court held that there

was no disputed fact that Lane had consented to the broad use of her images.

Bozley v. WildWett.com 4:04cv393 (N.D. Ohio 2004) at Page 26, Exhibit 8.

       This is vastly different from the case at bar. In the instant case, there

is no evidence that the 14 year old Bullard had any knowledge or gave any

thought to the possibility that her image would be sold for use in any

product or otherwise distributed in any manner whatsoever.          For the

reasons set forth above the Defendant’s Motion for Summary Judgment

should be denied.

       This 7th day of August, 2005.



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                               /S/
                               ________________________
                               Jeff Banks
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                               GA Bar No. 005445




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              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

LINDSEY BULLARD,
    Plaintiff,

-vs-                                        CIVIL ACTION #
                                            1:04-CV-2407 (JEC)

MEDIA PLAY, INC.,
MRA HOLDING, LLC,
and MANTRA FILMS, INC.,
     Defendants._______________

                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I have this day served a copy of the

foregoing PLAINTIFF’S RESPONSE TO MRA HOLDINGS, LLC’S AND

MANTRA FILMS, INC.’S MOTION FOR SUMMARY JUDGMENT upon

counsel for the Defendants by placing a copy of the same in the United

States Mail with adequate postage affixed and addressed to wit:

                              Nicole Day, Esq.
                             J. Scott Carr, Esq.
                         WARGO & FRENCH, LLP
                           1170 Peachtree Street
                                 Suite 2020
                          Atlanta, Georgia 30309




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      This 7th day of August, 2005.
                                       /S/
                                       ________________________
                                       Jeff Banks
                                       Attorney for Plaintiff
                                       GA Bar No. 005445
BANKS & RIEDEL
1301 Shiloh Road, Ste. 1610
Kennesaw, Georgia 30144
(678) 797-6364

                           L.R. 7.1 Certification

I certify that the foregoing Brief in Support of Motion for Summary
Judgment complies with the Local Rule 5.1 for the Northern District by
being prepared in a Times New Roman font of not less than a size 14.

      This 7th day of August, 2005.
                                       /S/
                                       ________________________
                                       Jeff Banks
                                       Attorney for Plaintiff
                                       GA Bar No. 005445




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